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                             THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NEW YORK


  WELLS FARGO BANK, N.A., as Securities
  Intermediary; and NATHAN KAHAN, as Trustee of
  The Klugman Trust, Dated May 2, 2007,

                  Plaintiffs,                                   Case No. 1:17-cv-03405

          v.

  LINCOLN BENEFIT LIFE COMPANY,

                  Defendant.



                                JOINT STIPULATION TO DISMISS

         Plaintiffs Wells Fargo Bank, N.A., as Securities Intermediary; and Nathan Kahan, as

 Trustee of The Klugman Trust, Dated May 2, 2007, and Defendant Lincoln Benefit Life Company,

 by and through their undersigned counsel, hereby stipulate and agree that this Action shall be

 dismissed in its entirety, with prejudice, with all Parties bearing their respective costs and attorneys’

 fees.


   ARENT FOX LLP                                         PANETH & O'MAHONY, PLLC
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   Dated: January 3, 2018                                Dated: January 4, 2018

   Attorneys for Plaintiff Wells Fargo Bank,             Attorneys for Plaintiff Nathan Kahan, as
   N.A., as Securities Intermediary                      Trustee of The Klugman Trust, Dated
                                                         May 2, 2007
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   Dated: January 4, 2018

   Attorneys for Defendant
   Lincoln Benefit Life Company




 IT IS SO ORDERED.



 Dated: January __, 2018
 Honorable Nicholas G. Garaufis
 U.S. District Court, Eastern District of New York




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